             Case 5:19-cv-00723-FB Document 1 Filed 06/19/19 Page 1 of 13
                                                                                  FILED
                                                                                    JUN
                           UNITED STATES DiSTRICT COURT                                   1   92019
                            WESTERN DISTRICT OF TEXAS                       WE0S DISTRICT C
                               SAN ANTONIO DIVISION                                              OF

GENESIS NETWORKS ENTERPRISES, LLC                )
                                                 )
        Plaintiff,                               )




MEGGAN EHRET
                                                 SAfieCAO(formerly District Court 408th Judicial         FB'
                                                  )      District, Bexar County, Texas Case
        Defendant.                                )      No. 2019C109547)
                                                  )

                                                  )




                                   NOTICE OF REMOVAL

       Defendant, Meggan Ehret, hereby removes Case No. 2019C109547 from the District Court

408th Judicial District, Bexar County, Texas pursuant to 28 U.S.C.   §   1332, 1441, and 1446 and,

as grounds for her removal, states as follows:

                                    STATEMENT OF THE CASE

        1.      On May 10, 2019, Plaintiff Genesis Networks Enterprises, LLC filed Plaintiff's

Original Petition for Declaratory Judgment in the District Court 408th Judicial District, Bexar

County, Texas styled Genesis Networks Enterprises, LLC v. Meggan Ehret, Case No.

2019C109547 ("State Court Declaratory Judgment Action"). A copy          of the Original Petition   is


attached as Exhibit A.

        2.      Ehret was served with the Original Petition and Citation on June 6, 2019.

        3.      The Original Petition for Declaratory Judgment purports to seek a declaratory

judgment that no contract existed between the parties as to a monthly retainer fee. It was filed
                                                                                                that
after Plaintiff (and others) received a demand letter from the natural plaintiff, Meggan Ehret,
                                                                                              the
 included a draft complaint she stated she would file in the United States District Court for
               Case 5:19-cv-00723-FB Document 1 Filed 06/19/19 Page 2 of 13



                                                                                          for
Southern District of Indiana unless the Plaintiff (and others) submitted payment to Ehret

services performed.

         4.     On May 14, 2019, Ehret filed a Complaint in the United States District Court for

the Southern District of Indiana, Indianapolis Division against Plaintiff Genesis Networks

Enterprises, LLC as well as Genesis Networks Incorporated and James Goodman asserting
                                                                                      three

causes of action against Genesis Networks Enterprises, LLC, Genesis Networks Incorporated, and

James Goodman: (1) breach of contract for failing to pay Ehret for valuable services rendered; (2)

unjust enrichment as each of Genesis Networks Enterprises, LLC, Genesis Networks Incorporated,

and James Goodman would be unjustly enrich if they were able to take the benefit of Ehret's time

and expertise without paying her adequate compensation; and, in the alternative, (3) quantum

meruit ("Indiana US District Court Action"). In the Indiana US District Court action, the natural

plaintiff seeks recovery of more than $75,000. The Indiana US District Court action is the more

complete action with all potential parties involved and was filed by the natural plaintiffthe one

 entitled to monetary recovery.

                           DIVERSITY JURISDICTION UNDER 28 U.S.C. § 1332

          5.     This Court has jurisdiction over this action pursuant to 28 U.S.C.   §   1332 because

 there is complete diversity of citizenship between the Plaintiff (and the majority owner
                                                                                          of the

                                                                                       exclusive
 corporate Defendant) and the Defendant and the amount in controversy exceeds $75,000,

 of interests and costs.

          6.     Plaintiff Genesis Networks Enterprises, LLC is a Texas entity with its principal

 place   of business in San Antonio, Texas and   is therefore domiciled in Texas. James Goodman

                                                                                             Goodman
 owns ninety percent (90%) ofGenesis Networks Enterprises, LLC and Defendant James

 is domiciled in Texas.
                 Case 5:19-cv-00723-FB Document 1 Filed 06/19/19 Page 3 of 13



          7.      Defendant Meggan Ehret is a resident of Hamilton Country, Indiana and therefore

domiciled in Indiana.

          8.      The Original Petition filed in the State Court Declaratory Judgment states the
                                                                                           to 28
amount in controversy exceeds $75,000. Thus, this District Court has jurisdiction pursuant

USC   §   1332 as there is complete diversity between Plaintiff and Defendant in this action and the

amount in controversy exceeds $75,000.

               ALL PROCEDURAL REQUIREMENTS FOR REMOVAL HAVE BEEN SATISFIED

          9.      Pursuant to 28 USC   §   1446(a), a true and accurate copy of all the process, pleadings,

orders, and documents from the State Court Declaratory Judgment Action where have been served

on Ehret are being filed with this Notice of Removal.

           10.    This Notice of Removal has been filed within 30 days of the date Ehret was served

with the Original Petition and Citation in this matter. Removal is therefore timely in accordance

 with 28 USC § 1446(b).

           11.     Finally, while venue is proper in this District pursuant to 28 USC      §   1441(a) and

 1446(a) because the US District Court for the Western District of Texas is the federal
                                                                                        judicial

                                                                                               State
 district embracing the District Court 40 8th Judicial District, Bexar County, Texas where the
                                                                                        here)
 Court Declaratory Judgment Action was original filed, the natural plaintiff (Defendant
                                                                                    Court for the
 Meggan Ehret believes the appropriate venue to hear the dispute is the US District
                                                                                   is pending
 Southern District of Indiana, which is where the Indiana US District Court Action
                                                                              in the alternative,
 already. When appropriate, she will file a motion to dismiss this action or,

 transfer the action to the US District Court for the Southern District of Indiana.




                                                        3
                Case 5:19-cv-00723-FB Document 1 Filed 06/19/19 Page 4 of 13



                                           CONCLUSION

       By this Notice ofRemoval, Ehret does not waive any objections she may have as to
                                                                                             service,

                                                                                              intends
jurisdiction, or venue, or any other defenses or objections it may have to this action. Ehret

no admission of fact, law, or liability by this Notice and expressly reserves all defenses, motions,

and/or pleas.

Dated: 17 June 2019                                           Respectfully submitted,




                                                              Defendant, Meggan Ehret
                                                              3690 Gould Drive
                                                              Carmel, Indiana 46033

                                                               317-366-8476

                                                               Meggan.ehretgmai1.com


                                   CERTIFICATE OF SERVICE

         This is to certify that the foregoing DEFENDANT'S NOTICE OF FILING OF NOTICE

 OF REMOVAL, with its exhibits, was sent via United States mail on the 17th day         of June, 2019,

 postage prepaid thereon to:

                                        Richard W. Epsey
                                        Victor M. Campos

                                        Espey & Associates, PC
                                        12400 San Pedro, Suite 200
                                        San Antonio, Texas 78216
                                        Telephone: (210) 404-0333
                                        Telecopier: (210) 404-0336
                                        respey())awespey. corn
                                        vcarnpos,lawespey. corn
                                        Attorneys for Plaint



                                                                Meggan u
                                           Case 5:19-cv-00723-FB Document 1 Filed 06/19/19   Page 5 of 13
                                                                                     PRIVATE PROCESS

                                                                                                                                                                                            III
                                                                        Case Number 2019-CI-09547                              1111 !fL                                            s8008l
                                                                                                                                                                    2019c1e9647


                                                                                                                                                          IN THE DISTRICT COURT
               4 NE WORKS ENTERPRISES LLC                                                                                                                 408th JUDICIAL DISTRICT
                                                                                                                                                           BEXAR COUNTY, TEXAS
,'MEGGAN EHERT                 Contain Additional                       Litigants.)
   (Note:Attmohed Document Nay
                                                                                         C$TATION

   THE STATE OF                            TEXAS5




   Directed To:              MEGGAN EHERT




                                                                                                                             who issued this
                                                                       attorney do  not file a written answer with the clerk
                                                          you or  your
    5You have been sued. You
                               may employ an attorney. If                                               served this CITATION and
                                                                                                                                  ORIGINAL
                                                       the expiration of twenty days after you were
    citation by 10:00 am. on the Monday
                                        next following                                                            ORIGINAL PETITION FOR
                                                                judgment   may   be  taken against you." Said
                                     JUDGMENT , a default
    PETiTION FOR DECLARATORY
                                                       day of May, 2019.
    DECLARATORY       JUDGMENT was filed on the 10th




                                                    THIS 15TH DA ( OF MAY                                                        AD., 2019.
                              SEAL OF SAID COURT ON
     ISSUED UNDER MY HAND AND
                                                                                                                                      Mary Angie Garcia
                                                                                                                                      Bexar County District Clerk
     RICHARD WILLIAM ESPEY                                                                                                                                   217
                                                                                                                                      101 W. Nueva, Suite
     ATTORNEY FOR PLAINTIFF                                                                                                                        Texas  78205
                                                                                                                                      San Antonio,
     12400 SAN PEDRO AVE 200
     SAN ANTONIO, TX 78216-2887
                                                                                                                                       By: J'1dirnna Carlenas,
                                                                                                                                                               Deputy

                                                                                                                                       Case Number: 2019-CI-09547     Court
      GENESIS NETWORKS ENTERPRISES
                                   LLC                                                                                                 Court: 498th Judicial District
                                                                                           Officers Return
      VS
      IIEGGAN EHERT                                                                                                                                                                     PETITION FOR
                                                                                                                                             of the CITATION with   attached 0RIOthML
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      I   rece Wed    this   CITATION on                                                                                                                                          in person on the
                                                    the date of detiveiy endorsed on
                                                                                         to the defendant,
      DECLARATORY JUDGMENT                                                                                                                                or               not   executed    because
                                                                                                                                                               (       )

                                                                  at            octock    _M.      at:_____________________________________




                                                                                expires:
          Fees:                      BadgeIPpS L____________ Date certification
                                                                                                                                                                                   County, Texas

                                                                                                                        By:


                                                    by a peace officer) SWORN TO THIS
          OR: VERIFICATION OF RETURN (If not served



                                                                                                                                         NOTARY PUBLIC, STATE OF TEXAS


                                                                                                                                                                             and my address       is
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          OR:         name Is
                fly
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                                                                                              in                                                                County. State of Texas, on
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           I declare under penalty of perjury that
           the          day of               2G,_.            ,




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                             Case 5:19-cv-00723-FB Document 1 Filed 06/19/19 Page 6 of 13
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Mary Angie Garn
Bexar County District Clerk
Accepted By: Victoria Angeles
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                                                  CAUSE NO.
                                                                                      IN THE DISTRICT COURT
               GENESIS NETWORKS                                   §
               ENTERPRISES, LLC                                   §
                                                                  §
                                                                                    408th__JUDICIAL DISTRICT
               V.                                                 §
                                                                  §
               MEGGAN EHRET                                        §                  BEXAR COUNTY, TEXAS


                         PLAINTIFF'S ORIGINAL PETITION FOR DECLARATORY JUDGMENT

                TO THE HONORABLE COURT:
                                                                                             or "Genesis"),
                         NOW COMES Plaintiff Genesis Networks Enterprises, LLC. ("Plaintiff"
                                                                                           and Remedies Code of
                pursuant to the Declaratory Judgment Act, Chapter 37 of the Civil Practice
                                                                                              would respectfully show
                Texas, and files this action for declaratory judgment and in support hereof

                this Court as follows:



                                                                                                 a discovery control
                          Plaintiff pleads that discovery should be conducted in accordance with

                 plan under Texas Rule of Civil Procedure 190.3.



                                                                                             to conduct the
                           Plaintiff Genesis Networks Enterprises, LLC is company authorized
                                                                                        in San Antonio, Texas.
                    business in the State of Texas with its principal place of business
                                                                                            and can be served by
                           Defendant Meggan Ehret is a resident of Hamilton County, Indiana

                    Private Process at 3690 Gould Drive, Carmel, Indiana 46033.

                                                                       ill.

                                                                                           the meaning of Texas Civil
                            An actual controversy exists between the parties hereto within
                                                                                         Judgments Act"). A ruling
                    Practice and Remedies Code Section 37.0001 et seq. (the "Declaratory
                                                                                          issues and parties involved.
                    by this Court will not be advisory in nature, but will dispose of the
           Case 5:19-cv-00723-FB Document 1 Filed 06/19/19 Page 7 of 13




                                                                       I) of the Texas Civil
       Venue is proper in Bexar County pursuant to Section 1 5,002(a)(
                                                                    or a substantial part of the
Practice and Remedies Code as Bexar County was the county where all
                                                                          that the Defendant traveled
events or omissions giving rise to the claim occurred. It should be noted

to Bexar County in regards to the events giving rise to the claim.
                                                                          controversy in the
        This Court has jurisdiction over the Defendants and the amount in
                                                                     Court. Plaintiff seeks
underlying lawsuit exceeds the minimum jurisdictional limits of this

monetary relief of $100,000.00 or less and non-monetary relief.



                                                                                   to assist in the
        On or about January 8, 2019, Plaintiff sought the services of a consultant
                                                               and asked to assist in the
 negotiation and purchase of software. Defendant was contacted
                                                                      by the         Plaintiff.
 negotiation and review of documents related the purchase of software

         A fee schedule or compensation scheme was never agreed to.
                                                                            for work performed.
         Plaintiff sought hourly rates and fee schedules from the Defendant
                                                                        per          month retainer fee.
 Defendant responded by stating that she would only accept a $50,000.00
                                                                    fee in the amount of
         Defendant is now seeking three months' worth of a L'etamer

  $150,000.00.
                                                                  in writing. Plaintiff seeks a
          Such an agreement was never reached, either verbally or
                                                                    was never agreed to and that no
  declaration from the court that a retainer fee as described above

  contract, either verbal or in writing, exists or has existed.



                                                                                  between the parties as
           Plaintiff seeks a declaration from this Court that no contract existed

   to a monthly retainer fee. Further, Plaintiff seeks a declaration
                                                                       that the Defendant did not enter into




                                                      2
               Case 5:19-cv-00723-FB Document 1 Filed 06/19/19 Page 8 of 13




                                                                     to a retainer fee and therefore
a verbal contract or written contract with the Plaintiff with regard
                                                                  exist.
has no grounds to enforce the terms of a contract, which does not
                                                                               it in this action and
        Plaintiff has retained the firm of Espey & Associates, PC to represent
                                                               fees. An award of reasonable and
has agreed to pay the firm reasonable and necessary attorney's
                                                                   and therefore authorized by
necessary attorney's fees to Plaintiff would be equitable and just

 Section 37.009 of the Civil Practice and Remedies Code.

         WHEREFORE, Plaintiff requests that:
                                                                                 any monthly retainer
         1.       A declaration that Plaintiff and Defendant did not enter into
                  fee contract;
                                                                                    the parties as to a
         2.       A declaration that no contract, verbal or written, exists between
                  monthly retainer fee;
                                                                                     rights against the
         3.       A declaration that the Defendant has no enforceable contractual
                  Plaintiff;
         4.       Pre-judgment interest and post-judgment interest;
          5.      Reasonable attorney's fees, interest and costs of court; and
                   For such other and further relief, general or special, at law
                                                                                 or in equity, to which
          6.
                   Plaintiff may be justly entitled.



                                                          Respectfully submitted,

                                                          ESPEY & ASSOCIATES, PC
                                                          12400 San Pedro Avenue, Suite 200
                                                          San Antonio, Texas 78216
                                                          Telephone:    (210) 404-0333
                                                          Telecopier:   (210) 404-0336

                                                                           /1'       /1
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                                                           r..
                                                                                 f
                                                           t,y:     i/
                                                                  RICHARD W. ESPEY
                                                                  State Bar No. 06667580
                                                                  VICTOR M. CAMPOS
                                                                  State Bar No. 24092217

                                                           ATTORNEY FOR PLAINTiFF
                                 Case 5:19-cv-00723-FB Document 1 Filed 06/19/19 Page 9 of 13




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        0196 Franchisc
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         Vii.                                                                                                                                                            JURY DEMAND:
                     COMPLAINT                              UNDER RULE 23, FJLCv2.                                                 1

                      RELATEDCASE(S)
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               RECEIPT it                     AMOUNT
                       Case 5:19-cv-00723-FB Document 1 Filed 06/19/19 Page 10 of 13
                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                         SAN ANTONIO                         DIVISION

                                        Supplement to JS 44 Civil Cover Sheet
                                       Cases Removed from State District Court

This form must be filed with the Clerk's Office no later than the first business day following
the filing of the Notice of Removal. Additional sheets may be used as necessary.
                    The attorney of record for the removing party MUST sign this form.
STATE COURT INFORMATION:
1. Please    identify the court from which the case is being removed; the case number; and the complete
     style of the case.

      District Court 408th Judicial District Bexar County, Texas
      Case No. 2019-C 1-09547

      Genesis Networks Enterprises LLC vs. Meggan Ehret




2. Was     jury demand made         in State Court?                Yes   E          No
     If yes,   by which party and on what date?


     Party Name                                                                          Date




STATE COURT INFORMATION:
1.   List all plaintiffs, defendants, and intervenors still remaining in the case. Also, please list the
     attorney(s) of record for each party named and include the attorney's firm name, correct mailing
     address, telephone number, and fax number (including area codes).
      Plaintiff Genesis Networks Enterprises   LLC
      Attorney of Record for Plaintiff
     Richard William Espey and Victor Campos
     Espey & Associates, PC
     12400 San Pedro Avenue, Suite 200
     San Antonio, Texas 78216
     Telephone: (210) 404-0333
     Telecopier: (210) 404-0336

     Defendant: Meggan Ehret
     3690 Gould Drive
     Carmel, Indiana 46033
     Mobile: 317-366-8476
     meggan.ehret@gmail.com
     (no fax number)




     TXWD - Supplement to   iS 44 (Rev. 10/2004)
                       Case 5:19-cv-00723-FB Document 1 Filed 06/19/19 Page 11 of 13

2. List all parties    that have not been served at the time of the removal, arid the reason(s) for
     non-service.

     NA




3. List all partiesthat have been non-suited, dismissed, or terminated, and the reason(s) for their
     removal from the case.

     NA




COUNTERCLAIMS, CROSS-CLAIMS,                    and/or THIRD-PARTY CLAIMS:
1.   List separately each counterclaim, cross-claim, or third-party claim still remaining in the case and
     designate the nature of each such claim. For each counterclaim, cross-claim, or third-party claim,
     include all plaintiffs, defendants, and intervenors still remaining in the case. Also, please list the
     attorney(s) of record for each party named and include the attorney's firm name, correct mailing
     address, telephone number, and fax number (including area codes).

     Only the Plaintiffs Original Petition for Declaratory Judgment was filed in the state court. Defendant timely removed
     and will timely file responsive pleading

     Plaintiff: Genesis Networks Enterprises LLC; Attorney of Record for Plaintiff: Richard William Espey and Victor Campos
     Espey & Associates, PC, 12400 San Pedro Avenue, Suite 200, San Antonio, Texas 78216
     Telephone: (210) 404-0333
     Telecopier: (210)404-0336

     Defendant: Meggan Ehret
     3690 Gould Drive
     Carmel, Indiana 46033
     Mobile: 317-366-8476
     meggan.ehret@gmail.com
     (no fax number)




VERIFICATION:


     Meggan Ehret, pro se                                                                    18 June 2019
     Attorney for Removing Party                                                            Date



     Meggan Ebret
     Party/Parties




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